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Proposed Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                Chapter 11

JPA NO. 111 CO., LTD. and                             Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                      (Jointly Administered)
                                    1
                         Debtors.



    AMENDED & RESTATED SCHEDULES OF ASSETS AND LIABILITIES FOR
                   JPA NO. 111 CO., LTD. (21-12075)

                                  SUPPLEMENT TO SCHEDULE A/B

         * Please note that these Amended & Restated Schedules of Assets and Liabilities
         (the “Amended Schedules”) contain information that amends and/ or
         supplements certain information contained in the original Schedule of Assets and
         Liabilities (the “Original Schedules”). These Amended Schedules should be
         considered in conjunction with the Original Schedules. Responses that are either
         labeled as “Not Amended” on these Amended Schedules or otherwise not
         referenced in these Amended Schedules should remain unchanged from the
         Original Schedules.




1
    The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
    Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
    Chiyoda-Ku, Tokyo 100-0013.
  F1ll 1nthis Information to 1dent1fythe case

  Deb1or name             JPA No. 111 Co. Ltd.

  u      ed States BankruptcyCout            fathe: ___   So_u_th_e_r_n
                                                                 ____          0ts1nct of   ~QI)<
                                                                                            jS:a1e1
  Case nunber (If               wn):         21-12075 (DSJ)                                                                                     v Check If this Is an
                                                                                                                                                D
                                                                                                                                                    amended filing


 Official Form 206A/B
 Schedule                              A/B: Assets -                   Real and Personal                                 Property                             12/15

 Dlsclose all property, real and personal, which the debtor owns or In which the debtor has any other legal, equitable, or future Interest Include
 all property In which the debtor holds rights and powers exercisable for the debtor's own benefit. Also Include assets and properties which have
 no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule AIB, 11stany executory contracts or unexpired
 leases. Also 11stthem on Schedule G: Exec.utory Contracts and Unexpired Leases (Offlclal Form 206G).
 Be as complete and accurate as possible. If more space Is needed, attach a separate sheet to this form. At the top of any pages added, write
 the debtor's name and case number (If known). Also Identify the form and line number to which the additional Information applies. If an
 additional sheet Is attached, Include the amounts from the attachment In the total for the pertinent part.

For Part 1 through Part 11, 11steach asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset In a partlcular category. List each asset only once. In valuing the
debtor's Interest, do not deduct the value of secured claims. See the Instructions to understand the terms used In this form.


■ §f      I      Cash and cash equlvalents

1. Does the debtor have any cash or cash equivalents?

   D          No. Go to Part 2.
   ~ Yes. Fill in the infonnation below.

       All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of debtor's
                                                                                                                                             Interest

2. Cash on hand                                                                                                                             s__ No~t'--'-A-"-m=e=n~d'-=ed~_

3. Checking, savings, money market, or financial brokerage accounts (Identify al~

        ame of ins iJton (ban or b"o raQe firm)                           Type of aocount                   Last 4 dig sof account number
      3.1. SMBC (Akasaka)                                               Savings Account [JPY Account]         8     0    5     9                  2,882.91
                                                                                                                                            s_-'No'-=t..,_A-=-m=e=n=d=ed=--
                                                                                                                                            $ _______           _
      3.2. ------------------                                             --------                                                               Not Amended

4. Othercashequlvalents                   (ldentifya/1)

      4.1. -------------------------------------
                                                                                                                                            s_______
                                                                                                                                                Not Amended _
                                                                                                                                            s_______
                                                                                                                                                Not Amended _
      4.2. -------------------------------------

5. Total of Part 1
   Add lines 2 throug 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            Is__153,378.69
                                                                                                                                                  No_t_A_m_e_n_d_ed
                                                                                                                                                           __




■ §fj            Deposit~ and prepayment~

6. Does the debtor have any deposits or prepayments?

   0          No. Go to Part 3.
   I[) Yes. Fill in the infonnation below.
                                                                                                                                              Current value of
                                                                                                                                              debtor's Interest
7. Deposits, Incl udlng security deposits and utility deposits
      ~ton,           irdudiig name of holder of depoSlt
      1.1.     Securi           retainer in NY bank acoount for To                                      services                                  250,000
                                                                                                                                             S--------
      7.2. ______________________________________                                                                                      _     s________                _

  Official Fonn 206A/B                                               Schedule A/B: Assets -Real         and Personal Property                             page 1
 Debtor               JPA No. 111 Co. Lid.                                                          Case nt.mbeq,...,...,,   21-12075 (DSJ)



8. Prepayments, Including prepayments on executory contracts, leases, Insurance, taxes, and rent

    Desa1)~on. n:tuding name of holder of prepaymen1
   8.1.______________________________________                                                                                    _        s_______             _
   8.2. ______________________________________                                                                                   _        s________                _
9. Total of Part 2.
   Add lines 7 t rough 8. Copy the total to line 81.
                                                                                                                                      1   s._....c2=50=000c...c..._
                                                                                                                                                      __ _


■ §fl         Aeeounts   reeelvable

10. Does the debtor have any accounts receivable?

    0     No. Go to Part 4.
    ~ Yes. Fill in the information below.
                                                                                                                                          Current value of debtor's
                                                                                                                                          Interest
11. Accounts receivable

    11a. 90 days old or less:                                                                               ........
                                                                                                                 ➔                    S       Not Amended
                                    face amount                    douilflJ or uncolectib    aocoun1s

    11b. Over90days old:                                                                                    ........
                                                                                                                 ➔                    S       Not Amended
                                    face amount                    douilflJ or uncolectibleaocoun1s


12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                     Is       Not Amended



■ §f      i   lnve$tments

13. Does the debtor own any Investments?
    ~ No. Go to Part 5.
    0     Yes. Fill in the information below.
                                                                                                            Valuation method              Current value of debtor's
                                                                                                            used for current value        Interest

14. Mutual funds or publicly traded stocks not Included In Part 1
     ame of fund or s1
    14.1. _____________________________                                                                 _
                                                                                                                                       S      Not Amended
    142. _____________________________                                                                  _
                                                                                                                                       S      Not Amended



15. Non-publicly traded stock and Interests In Incorporated and unincorporated businesses,
    Including any Interest In an LLC, partnership, or Joint venture

     ame of ent:11y:                                                                 % 0 f CtM1ersh":
    15.1 ..______________________                                            _       ___        %
                                                                                                                                       S Not Amended
    152 ..______________________                                             _       ___        %
                                                                                                                                       S Not Amended

16. Government bonds, corporate bonds, and other negotiable and non-negotlable
    Instruments not Included In Part 1
    Descdle:
    16.1 .._____________________________                                                            _
                                                                                                                                          s   Not Amended
    162 .._____________________________                                                             _
                                                                                                                                          s    Not Amended



17. Total of Part 4
                                                                                                                                               Not Amended
    Add lines 14 throug 16. Copy the total to line 83.                                                                               Is

 Official Form 206A/B                                      Schedule A/B: Assets -           Real and Personal Property                                 page2
Debtor                   JPA No. 111 Co. Ltd.                                                                                     Case number 11,MXr,.,,,21 -1207 5 (DSJ)




lill              Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                                     Current value of                        Current value
                                                                                                            personal property                       of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, P3rt 1.                                         s 153,378.69
                                                                                                                 NotAmended

81. Deposits and prepayments. Copy line 9, Part 2.                                                             s 250.000


82. Accounts receivable. Copy line 12. Part 3.                                                                 s Not Amended

83. Investments. Copy line 17. Part 4.                                                                         s Not Amended

84. Inventory. Copy line 23. Part 5.                                                                           s NotAmended

85. Farming and fishing-related                assets. Copy line 33. Part 6.                                   s NotAmended

86. Office furniture, fixtures, and equipment· and oollectlbles.
                                                                                                               s NotAmended
     Copy line 43. Part 7.

87. Machinery, equipment, and vehicles. Copy line 51. P3rt 8.                                                  s Not Amended

88. Real property. Copy line 56. P3rt 9 .......................................................................................     ➔             I Not
                                                                                                                                                   s     Amended

89. Intangibles and Intellectual property. Copy line 66. P3rt 10.                                              s NotAmended

90. All other assets. Copy line 78. P3rt 11.                                                              +    S Not Amended


91. Total. Add lines 80 through 90 for each oolumn............................. 91a.
                                                                                                                118,688,178.67
                                                                                                               5118.690813 03           I+ ,.1
                                                                                                                                             s Not
                                                                                                                                             91           Amended




92. Total of all property on Schedule A/B. Lines 91 a+ 91 b = 92 ..............................................................................................   .        118,688,178.67
                                                                                                                                                                        S 118,690,813.03




Official Form 206A/B                                                           Schedule A/B: Assets -Real                   and Pers,onal Property                             page8
 FIii in this Information to Identify the case and this filing:


 Debtor Name     JPA No. 111 Co. Ltd.

 United States Ban    ptcy Court for the:   Southern
                                                  ~-----                          New __York _
                                                                     District of '51a"il!I

 Case number () k.rtolWI):     21-12075 (DSJ)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual                                                                     Debtors                   12/15

An lndlvldual who Is authorized to act on behalf of a non-Individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and llabl lltles, any other document that requires a declaration that Is not Included In the document,
and any amendments of those documents. This form must state the Individual's position or relatlonshlp to the debtor, the Identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result In fines up to $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §,§ 152, 1341,
1519, and 3571.



             Declaration       and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of tile partriersllip; or
         another individual serving as a representative of the debtor in this case.

         I have examined tile information in tile documents checked below and I have a reasonable belief tllat the information is true and correct:


         D     Schedu e A/B: Assets-Rea/ and Personal Property (Official Form 206A/B)

         D     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)

         D     Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         D     Schedule G: Executor; Contracts and Unexpired Leases (Official Form 206G)

         D     Schedule H: Codebtors (Official Form 206H)

         D     Summary of Assets and UaM·ues for Non-Individuals (Official Form 206Sum)

         l&JAmended Schedule           Schedule AJB

         D     Chapter 11 or Chapter 9 Cases: Ust of Creditors IAAloHave the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         D     Other document tllat requires a dedaration
                                                            -------------------------------


         I dedare under penalty of perjury tllat the foregoing is true and corred.


         Executed on         02/02/2022
                         Id, I DD I YYYY                          Signature of individual signing on behalf of debtor




                                                                   Teiii Ishikawa
                                                                  Print.ad name


                                                                   Re resentative Director
                                                                  Posillon or rela1ionship to debtor




Official Form 202                              Declaration Under Penalty of Perjury for Non-Individual Debtors
